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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


 DOROTHY JACKSON

               Plaintiff,

        v.                                         Case No. 8:19-cv-1009-TDC

 JTM CAPITAL MANAGEMENT, LLC., et al

                Defendants.


                       MOTION FOR ENTRY OF DEFAULT

       Plaintiff, Dorothy Jackson, requests that the clerk of court enter default against

Defendant, Royal Asset Management, Inc. (“RAM”), pursuant to Federal Rule of Civil

Procedure 55(a). In support of this request Plaintiff relies upon the record in this case

and in particular the affidavits of service as to defendant RAM (ECF 19 and 20).

                                                 Respectfully submitted,

Dated: May 17, 2019                              /s/ Emanwel J. Turnbull
                                                 Emanwel J. Turnbull
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                                                 Counsel for Plaintiff
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                        CERTIFICATE OF SERVICE
    This is to certify a copy was served on Defendant’s counsel when filed through the
CM/ECF system on May 17, 2019, and by first class mail postage pre-paid on:

Weinberg Mediation Group, LLC
By: Jerry Verhagen
3380 Sheridan Drive, Ste. 133
Amherst, NY 14226

Royal Asset Management, Inc.
By: Capital Administrations, LLC
1712 Pioneer Avenue, Ste. 115
Cheyenne, WY 82001

Defendants


                                       /s/Emanwel J. Turnbull
                                       Emanwel J. Turnbull




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